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           EXHIBIT A
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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

       In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation
                                  MDL Docket No. 1720

                                SCHEDULE OF ACTIONS


Case Caption                    Court            Civil Action No.             Judge

Plaintiff:              Northern District of   4:16-cv-04040-PJH      Chief Judge Phyllis J.
Broadway Grill, Inc.,   California, Oakland                           Hamilton
a California            Division
Corporation, on
Behalf of Itself and
All Others Similarly
Situated

Defendants:
Visa Inc., Visa
International
Association, Visa
U.S.A. Inc., Does 1-
500
